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          FILED & JUDGMENT ENTERED
                 Steven T. Salata


                  February 15 2022


           Clerk, U.S. Bankruptcy Court
          Western District of North Carolina
                                                                                         _____________________________
                                                                                                  J. Craig Whitley
                                                                                           United States Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION


    In re                                                   :
                                                            :        Chapter 11
    ALDRICH PUMP LLC, et al.,1                              :
                                                            :        No. 20-30608 (JCW)
                       Debtors,                             :        (Jointly Administered)
                                                            :
                                                            :


                  ORDER AUTHORIZING THE DEBTORS TO ESTABLISH A
            QUALIFIED SETTLEMENT FUND FOR PAYMENT OF ASBESTOS CLAIMS

                       This matter coming before the Court on the Motion of the Debtors for an Order

    Authorizing Establishment of a Qualified Settlement Fund for Payment of Asbestos Claims

    (the "Motion"),2 filed by the Debtors; the Court having reviewed the Motion and the Trust

    Agreement attached hereto as Annex 1 and having heard the statements of counsel and the

    evidence adduced with respect to the Motion at a hearing before the Court (the "Hearing"); the

    Court finding that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

    and 1334, (b) venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (c) this is a


    .

1
          The Debtors are the following entities (the last four digits of their respective taxpayer identification numbers
          follow in parentheses): Aldrich Pump LLC (2290) and Murray Boiler LLC (0679). The Debtors' address is 800-
          E Beaty Street, Davidson, North Carolina 28036.
2
          Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.
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  core proceeding pursuant to 28 U.S.C. § 157(b)(2), (d) notice of the Motion and the Hearing was

  sufficient under the circumstances, (e) establishment and funding of the QSF Trust pursuant to

  the Trust Agreement is a sound exercise of the Debtors' business judgment and (f) the Trust

  Agreement is fair and reasonable and in the best interests of the Debtors' estates and parties in

  interest; and the Court having determined that the legal and factual bases set forth in the Motion

  and at the Hearing establish just cause for the relief granted herein;

                         IT IS HEREBY ORDERED THAT:

                    1.      The Motion is GRANTED.

                    2.      The Debtors are hereby authorized to enter into the Trust Agreement, and

  the Trust Agreement is hereby approved as binding on all parties thereto.

                    3.      The QSF Trust shall be established in accordance with and governed by

  the terms of the Trust Agreement so that it may constitute a "qualified settlement fund" under

  section 468B of the Internal Revenue Code of 1986, as amended, and Treasury Regulations

  § 1.468B-1, et seq. The QSF Trust will be funded and used to resolve or satisfy current and

  future asbestos-related claims asserted against or related to the Debtors as provided in the Trust

  Agreement. The Trust Funds shall be earmarked for and only used for the purposes provided in

  the Trust Agreement.

                    4.      This Court shall be the supervisory court with respect to the QSF Trust

  and shall retain jurisdiction over the QSF Trust for the entire life of the QSF Trust.

                    5.      The Debtors are authorized and empowered to take all actions necessary

  or appropriate to implement the relief granted in this Order.




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                    6.    This Order shall be immediately effective and enforceable upon its entry.

  To the extent that it may be applicable, the 14-day stay imposed by Bankruptcy Rule 6004(h) is

  hereby waived.

                    7.    For the avoidance of doubt, the entry of this Order shall not constitute any

  determination regarding (a) the adequacy of the amount of funds contained in the QSF Trust to

  resolve or satisfy current and future asbestos-related claims that are the subject of these

  bankruptcy cases, or (b) the relevance of the entry of this Order to any other issue in these cases,

  whether currently pending or that may be presented in the future.

                    8.    This Court shall retain exclusive jurisdiction over any and all matters

  arising from or related to the implementation, interpretation, or enforcement of this Order.



    This Order has been signed electronically. The Judge's             United States Bankruptcy Court
    signature and Court's seal appear at the top of the
    Order.




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                                      ANNEX 1




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                        ALDRICH/MURRAY SETTLEMENT
                            FACILITY AGREEMENT

                                    By and Among

                     TRANE TECHNOLOGIES COMPANY LLC,

                                 TRANE U.S. INC.,

                              ALDRICH PUMP LLC,

                              MURRAY BOILER LLC

                                         and

                 U.S. BANK NATIONAL ASSOCIATION, as the Trustee

                                Dated as of [], 202[]




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                 ALDRICH/MURRAY SETTLEMENT FACILITY AGREEMENT

        This Aldrich/Murray Settlement Facility Agreement (this “Settlement Facility
Agreement”) is entered into on this [] day of [], 202[] by and among Trane Technologies
Company LLC (“TTC”), Trane U.S. Inc. (“TUI”), Aldrich Pump LLC (“Aldrich”), Murray Boiler
LLC (“Murray”), and the Trustee named on the signature pages of this Settlement Facility
Agreement. Capitalized terms used in this Settlement Facility Agreement have the meanings set
forth in Article 7.

                                           RECITALS

       A.      TTC and Aldrich executed that certain Second Amended and Restated Funding
Agreement, dated as of June 15, 2020 (the “TTC/Aldrich Funding Agreement”), pursuant to
which TTC agreed to provide funding to Aldrich for the purpose of defending and resolving
Asbestos Claims against and related to Aldrich (“Aldrich Asbestos Claims”), and TUI and Murray
executed that certain Second Amended and Restated Funding Agreement, dated as of June 15,
2020 (the “TUI/Murray Funding Agreement” and, together with the TTC/Aldrich Funding
Agreement, the “Funding Agreements”), pursuant to which TUI agreed to provide funding to
Murray for the purpose of defending and resolving Asbestos Claims against and related to Murray
(“Murray Asbestos Claims”).

       B.      On June 18, 2020, each of Aldrich and Murray filed a voluntary petition for relief
under chapter 11 of the Bankruptcy Code, thereby commencing the Chapter 11 Cases.

        C.      TTC, TUI, Aldrich, and Murray desire to create the Settlement Facility as a trust to
resolve or satisfy Asbestos Claims as provided herein, with TTC to provide the Settlement Facility
with immediate funding of $178,200,000 in Cash (the “TTC Settlement Contribution”) and TUI
to provide the Settlement Facility with immediate funding of $91,800,000 in Cash (the “TUI
Settlement Contribution”).

        D.     The Parties now desire to provide for the creation, funding, and administration of
the Settlement Facility in accordance with the terms of this Settlement Facility Agreement.

        E.     The Parties intend that the Settlement Facility (1) constitute a Qualified Settlement
Fund and, as such, be supervised by the Bankruptcy Court, (2) be created as a North Carolina trust,
(3) be managed by a trustee meeting specified independence criteria requirements, (4) be
established to resolve or satisfy, within the meaning of Treas. Reg. § 1.468B-1(c)(2), Asbestos
Claims, and (5) be funded with the TTC Settlement Contribution and the TUI Settlement
Contribution immediately upon its creation.

        NOW, THEREFORE, it is agreed as follows:

                                           ARTICLE 1

                                  AGREEMENT OF TRUST

        1.1   Creation and Name. TTC and TUI, as grantors, hereby create, effective as of the
Effective Date and with the consent of Aldrich and Murray, a North Carolina trust that shall be


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known as the “Aldrich/Murray Settlement Facility” and that shall be managed by the Trustee. The
Trustee shall transact the business and affairs of the Settlement Facility in the name
“Aldrich/Murray Settlement Facility.”

        1.2      Purpose. The purposes of the Settlement Facility are as follows:

               (a)     to resolve or satisfy Asbestos Claims in accordance with the Release
Conditions set forth in Section 1.5;

               (b)    to collect, invest, and distribute the Trust Funds in accordance with the
terms of this Settlement Facility Agreement;

              (c)      to pay Settlement Facility Expenses and any and all other liabilities of the
Settlement Facility in accordance with the terms of this Settlement Facility Agreement;

                 (d)    at all times to qualify as a Qualified Settlement Fund; and

               (e)     otherwise administer the Settlement Facility pursuant to the express
provisions of this Settlement Facility Agreement and any other agreements entered into by the
Trustee or the Settlement Facility in accordance with the terms of this Settlement Facility
Agreement.

        1.3      Transfer of Assets.

               (a)    Immediate Cash Funding. On the Effective Date, (i) TTC shall deliver the
TTC Settlement Contribution to the Settlement Facility and (ii) TUI shall deliver the TUI
Settlement Contribution to the Settlement Facility. Each of the TTC Settlement Contribution and
the TUI Settlement Contribution shall be so delivered by wire transfer of immediately available
funds to the Settlement Facility Accounts, as directed in writing by the Trustee. The Trustee shall
segregate and separately account for use of the TTC Settlement Contribution and the TUI
Settlement Contribution as set forth in this Settlement Facility Agreement.

                (b)   TTC/Aldrich Funding Agreement. TTC and Aldrich acknowledge and
agree that: (i) TTC has no obligation to deliver the TTC Settlement Contribution to the Settlement
Facility, as provided in Section 1.3(a), under the existing terms of the TTC/Aldrich Funding
Agreement; (ii) notwithstanding the lack of any existing obligation to do so, on the Effective Date,
as requested by Aldrich, TTC shall deliver the TTC Settlement Contribution to the Settlement
Facility, under the TTC/Aldrich Funding Agreement, as provided in Section 1.3(a); (iii) each of
TTC and Aldrich hereby waives any requirement or limitation set forth in Section 2 of the
TTC/Aldrich Funding Agreement to the extent necessary to permit (A) the delivery of the TTC
Settlement Contribution to the Settlement Facility, under the TTC/Aldrich Funding Agreement, as
provided in Section 1.3(a), and (B) the release of the Trust Funds as provided in Section 1.5 or as
otherwise provided in this Settlement Facility Agreement; (iv) TTC hereby waives, for any and all
purposes of the TTC/Aldrich Funding Agreement (including the satisfaction of the conditions of
Section 2.d of the TTC/Aldrich Funding Agreement in connection with any future request by
Aldrich for funding under the Funding Agreement), any breach of the TTC/Aldrich Funding
Agreement (including Section 5 thereof) resulting from (A) the delivery of the TTC Settlement
Contribution to the Settlement Facility, under the TTC/Aldrich Funding Agreement, as provided
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in Section 1.3(a), or (B) the release of the Trust Funds as provided in Section 1.5 or as otherwise
provided in this Settlement Facility Agreement; (v) the establishment of the Settlement Facility
shall not affect in any way the obligations of TTC under the TTC/Aldrich Funding Agreement
except to the extent that TTC shall not be obligated to fund a Permitted Funding Use (as such term
is defined in the TTC/Aldrich Funding Agreement) under the TTC/Aldrich Funding Agreement to
the extent there are funds available for release under this Settlement Facility to pay such Permitted
Funding Use; and (vi) the TTC Settlement Contribution shall be considered as pre-funding for
Permitted Funding Uses, including funding for a Section 524(g) Trust included in a Chapter 11
524(g) Plan in the Chapter 11 Cases, and, to the extent permissible under the terms of this
Settlement Facility Agreement, a Permitted Funding Use, including funding for a Section 524(g)
Trust included in a Chapter 11 524(g) Plan in the Chapter 11 Cases, shall first be paid by the
disbursement of funds from the Settlement Facility to the full extent such funds are available
therefor before additional funds are sought by Aldrich under the TTC/Aldrich Funding Agreement
for such Permitted Funding Use.

               (c)     TUI/Murray Funding Agreement. TUI and Murray acknowledge and agree
that: (i) TUI has no obligation to deliver the TUI Settlement Contribution to the Settlement
Facility, as provided in Section 1.3(a), under the existing terms of the TUI/Murray Funding
Agreement; (ii) notwithstanding the lack of any existing obligation to do so, on the Effective Date,
as requested by Murray, TUI shall deliver the TUI Settlement Contribution to the Settlement
Facility, under the TUI/Murray Funding Agreement, as provided in Section 1.3(a); (iii) each of
TUI and Murray hereby waives any requirement or limitation set forth in Section 2 of the
TUI/Murray Funding Agreement to the extent necessary to permit (A) the delivery of the TUI
Settlement Contribution to the Settlement Facility, under the TUI/Murray Funding Agreement, as
provided in Section 1.3(a), and (B) the release of the Trust Funds as provided in Section 1.5 or as
otherwise provided in this Settlement Facility Agreement; (iv) TUI hereby waives, for any and all
purposes of the TUI/Murray Funding Agreement (including the satisfaction of the conditions of
Section 2.d of the TUI/Murray Funding Agreement in connection with any future request by
Murray for funding under the TUI/Murray Funding Agreement), any breach of the TUI/Murray
Funding Agreement (including Section 5 thereof) resulting from (A) the delivery of the TUI
Settlement Contribution to the Settlement Facility, under the TUI/Murray Funding Agreement, as
provided in Section 1.3(a), or (B) the release of the Trust Funds as provided in Section 1.5 or as
otherwise provided in this Settlement Facility Agreement; (v) the establishment of the Settlement
Facility shall not affect in any way the obligations of TUI under the TUI/Murray Funding
Agreement except to the extent that TUI shall not be obligated to fund a Permitted Funding Use
(as such term is defined in the TUI/Murray Funding Agreement) under the TUI/Murray Funding
Agreement to the extent there are funds available for release under this Settlement Facility to pay
such Permitted Funding; and (vi) the TUI Settlement Contribution shall be considered as pre-
funding for Permitted Funding Uses, including funding for a Section 524(g) Trust included in a
Chapter 11 524(g) Plan in the Chapter 11 Cases, and, to the extent permissible under the terms of
this Settlement Facility Agreement, a Permitted Funding Use, including funding for a Section
524(g) Trust included in a Chapter 11 524(g) Plan in the Chapter 11 Cases, shall first be paid by
the disbursement of funds from the Settlement Facility to the full extent such funds are available
therefor before additional funds are sought by Murray under the TUI/Murray Funding Agreement
for such Permitted Funding Use.



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        1.4    Acceptance of Appointment and Contributions. In connection with and in
furtherance of the purposes of the Settlement Facility, the Trustee hereby expressly accepts its
appointment as trustee of the Settlement Facility and, in such capacity, accepts the delivery of the
TTC Settlement Contribution and the TUI Settlement Contribution to the Settlement Facility.

         1.5     Release Conditions. Subject to Section 4.1 and Section 4.3, the Trustee shall
release the Trust Funds to resolve or satisfy Asbestos Claims in accordance with, and upon
satisfaction of, either of the following conditions (the “Release Conditions”), unless, in the case
of Aldrich Trust Funds, TTC, in its sole discretion, or, in the case of Murray Trust Funds, TUI, in
its sole discretion, waives the requirement (in whole or in part) that either of the Release Conditions
be met:

               (a)     Release Pursuant to Chapter 11 524(g) Plan. Subject to Section 4.1 and
Section 4.3, the Trustee shall release Trust Funds, in whole or in part as necessary, to resolve or
satisfy Asbestos Claims by providing funding for a Section 524(g) Trust included in a Chapter 11
524(g) Plan in the Chapter 11 Cases, upon the effectiveness of the Chapter 11 524(g) Plan. For
the avoidance of doubt, the Trust Funds shall not be used to fund costs of administering the
Chapter 11 Cases.

                (b)   Release Without Chapter 11 524(g) Plan. Subject to Section 4.1 and
Section 4.3, if no Chapter 11 524(g) Plan has become effective, then, at any time when neither of
the Chapter 11 Cases is pending, the Trustee shall release the Trust Funds, as necessary, to resolve
or satisfy Asbestos Claims by paying to the holder of any Asbestos Claim the amount of such
Asbestos Claim upon establishment of the amount thereof, by either (i) a Final Order of a court of
competent jurisdiction or (ii) a final settlement.

                                            ARTICLE 2

                                             TRUSTEE

        2.1      Appointment. The initial Trustee shall be U.S. Bank National Association.

        2.2      Term of Service.

                  (a)    Initial Trustee. The initial Trustee shall serve from the Effective Date, and
each successor Trustee named to fill a vacancy shall serve from the date of appointment, until the
earlier of (i) its resignation pursuant to Section 2.2(b), (ii) its removal pursuant to Section 2.2(c),
or (iii) the termination of the Settlement Facility pursuant to Section 6.2.

               (b)     Resignation. The Trustee may resign at any time by written notice to TTC,
TUI, Aldrich, and Murray. Such notice shall specify a date on which such resignation shall take
effect, which date shall not be (i) less than ninety (90) days after the date such notice is given,
where practicable, or (ii) more than one hundred eighty (180) days after such notice.

                (c)    Removal. The Trustee may be removed in the event that it becomes unable
or unwilling to discharge its duties under this Settlement Facility Agreement, or for other good
cause. For such purposes, good cause shall be deemed to include failure to comply with
Section 3.2, a consistent pattern of neglect or failure with respect to the performance of the duties
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of the Trustee under this Settlement Facility Agreement, or repeated non-attendance at scheduled
meetings related to the administration of the Settlement Facility, including those contemplated by
Section 3.2(f). Such removal shall be made only by order of the Bankruptcy Court, upon motion
by TTC, TUI, Aldrich, or Murray (after consultation with the others).

        2.3      Appointment of Successor Trustee(s).

                (a)     Vacancy. In the event of a vacancy in the position, TTC, TUI, Aldrich, and
Murray, acting jointly, shall nominate a successor Trustee for appointment by the Bankruptcy
Court, after notice and opportunity for hearing. Any successor Trustee must meet the qualification
requirements of Section 2.7.

               (b)    Vesting of Powers on Appointment. Immediately upon the appointment of
any successor Trustee, all rights, titles, duties, powers, and authority of the predecessor Trustee
under this Settlement Facility Agreement shall be vested in, and undertaken by, the successor
Trustee without any further act. No successor Trustee shall be liable personally for any act or
omission of its predecessor Trustee.

        2.4    Liability of Trustee and Representatives. None of the Trustee, the Portfolio
Manager, the Adviser, or their respective Representatives shall be liable to the Settlement Facility
or any other Person in the absence of gross negligence or willful misconduct, determined by a
Final Order. The Trustee shall have no liability for any action taken or failure to act by the
Portfolio Manager or the Adviser with respect to the investment and reinvestment of the Trust
Funds (it being understood that the delegation of authority to the Portfolio Manager does not
otherwise alter the Trustee’s obligations with respect to holding, administering, and distributing
the Trust Funds).

        2.5      Compensation and Expenses of Trustee.

               (a)    Compensation. The Settlement Facility shall pay the Trustee, from the
Trust Funds, compensation for its services as a Trustee in the amount and on the terms set forth in
Exhibit B. Any adjustment to the Trustee Fees shall require the express written consent of TTC,
TUI, Aldrich, and Murray and approval of the Bankruptcy Court; provided, however, that in no
event shall the Trustee Fees exceed reasonable compensation, as determined by an independent
compensation consultant.

                (b)   Reimbursement. The Settlement Facility shall reimburse the Trustee, from
the Trust Funds, on a monthly basis for all Settlement Facility Expenses incurred and documented
by the Trustee.

               (c)     Report of Amounts Paid. The Trustee shall cause a description of the
amounts paid under this Section 2.5 to be included in reports Filed pursuant to Section 3.2(b)(i) of
this Settlement Facility Agreement.

       2.6      Trustee’s Employment of Professionals. The Trustee may, but shall not be
required to, retain, or cause the Settlement Facility to retain, and consult with competent counsel,
accountants, and other Representatives as the Trustee, in its reasonable judgment, deems
necessary, advisable, or appropriate in connection with the administration of the Settlement
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Facility in accordance with this Settlement Facility Agreement, including (i) in connection with
the release of Trust Funds in accordance with, and upon satisfaction of, the Release Conditions
and (ii) the use of Trust Funds to pay Settlement Facility Expenses and other liabilities of the
Settlement Facility, including obligations in respect of indemnification and the advancement of
expenses under Section 3.3. The written opinion of any such Person on any matter the Trustee
reasonably believes is within such Person’s professional competence shall be full and complete
authorization and protection in respect of any action taken or failure to act by the Trustee under
this Settlement Facility Agreement in good faith and in accordance with such opinion, in the
absence of gross negligence or willful misconduct by the Trustee, determined by a Final Order.

        2.7      Trustee Qualifications and Independence.

                 (a)    Qualifications. The Trustee, including the initial Trustee, shall be a Person
(and, if an individual, someone over the age of 35) (i) with the appropriate experience and
background for the responsibilities of the Trustee under this Settlement Facility Agreement, and
(ii) at the time of appointment and at all times during the term of service, independent.

               (b)     Independence. For purposes of this Settlement Facility Agreement, a
Person is not independent if such Person (i) is or was an officer, director, employee, or agent of
TTC, TUI, Aldrich, Murray, or an Affiliate of TTC, TUI, Aldrich, or Murray, or otherwise is or
was an “insider” (as such term is defined in the Bankruptcy Code) with respect to TTC, TUI,
Aldrich, Murray, or an Affiliate of TTC, TUI, Aldrich, or Murray; or (ii) is or was an investment
banker, financial advisor, counsel, accountant, or other professional advisor for TTC, TUI,
Aldrich, Murray, or an Affiliate of TTC, TUI, Aldrich, or Murray, or an officer, director, employee,
or agent of any Person that provides or provided investment banking, financial advisory, legal,
accounting, or other professional services to TTC, TUI, Aldrich, Murray, or an Affiliate of TTC,
TUI, Aldrich, or Murray. For the avoidance of doubt, U.S. Bank National Association, or any
successor trustee, and U.S. Bancorp Asset Management, Inc. may provide other unrelated
commercial banking services to TTC, TUI, Aldrich, Murray, or an Affiliate of TTC, TUI, Aldrich,
or Murray except as expressly prohibited in this Section 2.7(b) and still be independent for
purposes of this Settlement Facility Agreement.

       2.8     Bond. The Trustee shall not be required to post any bond or other form of surety
or security unless otherwise ordered by the Bankruptcy Court.

                                           ARTICLE 3

                 POWERS, TRUST ADMINISTRATION, AND REPORTING

        3.1      Powers.

                 (a)     Duties and Powers. The Trustee is and shall serve as trustee to the
Settlement Facility in accordance with the provisions of this Settlement Facility Agreement and
North Carolina Uniform Trust Code, N.C.G.S. Sections 36C-1-101 et seq. The Trustee shall, at
all times, administer the Settlement Facility in accordance with this Article 3. Subject to the
limitations set forth in this Settlement Facility Agreement, the Trustee shall have the power to take
any and all actions that, in its reasonable judgment, are necessary, advisable, or appropriate to

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effectuate the purposes of the Settlement Facility, including each power expressly granted in this
Section 3.1, any power reasonably incidental to each such power, and any power of the Trustee
now or hereafter permitted under applicable law.

               (b)     Court Approval Not Required. Except as required by applicable law or as
otherwise specified in this Settlement Facility Agreement, the Trustee need not obtain an order or
approval of the Bankruptcy Court or any other court in the exercise of any power or discretion
conferred under this Settlement Facility Agreement.

                  (c)    Administrator. The Trustee (i) shall be, or shall appoint a third party to be,
the “administrator” of the Settlement Facility within the meaning of Treas. Reg. § 1.468B-2(k),
(ii) shall ensure that the Settlement Facility meets all requirements to qualify as a QSF, and
(iii) shall take no action that would cause, or could reasonably be expected to cause, the Settlement
Facility to fail to qualify as a QSF.

              (d)     Powers. Without limiting the generality of Section 3.1(a), and except as
otherwise expressly limited in this Settlement Facility Agreement, the Trustee shall have the power
to:

                       (i)     hold, administer, and distribute the Trust Funds in accordance with
        the terms of this Settlement Facility Agreement, including the release of Trust Funds in
        accordance with Section 1.5 to resolve or satisfy Asbestos Claims;

                       (ii)    subject to Section 4.1 and Section 4.2: (A) invest and reinvest the
        Trust Funds in accordance with the terms of this Settlement Facility Agreement;
        (B) delegate authority with respect to the investment and reinvestment of all or any portion
        of the Trust Funds in accordance with the terms of this Settlement Facility Agreement;
        (C) pay, from the Trust Funds, compensation to, and reimburse, from the Trust Funds,
        reasonable out-of-pocket administrative and other expenses, costs, and fees (including
        reasonable attorneys’ fees and costs) incurred by, the Portfolio Manager, and the Adviser,
        which amounts payable shall constitute Settlement Facility Expenses, and (D) cause the
        Portfolio Manager and/or the Adviser to liquidate invested Trust Funds as necessary to
        make distributions of, and payments from, the Trust Funds in accordance with this
        Settlement Facility Agreement;

                      (iii) administer the Settlement Facility in accordance with this
        Settlement Facility Agreement;

                      (iv)    pay, from the Trust Funds, subject to Section 4.1, any and all
        Settlement Facility Expenses and any and all other liabilities of the Settlement Facility in
        accordance with this Settlement Facility Agreement;

                       (v)     adopt and amend by-laws and other rules and procedures not
        inconsistent with this Settlement Facility Agreement as the Trustee, in its reasonable
        judgment, deems necessary, advisable, or appropriate in connection with the administration
        of the Settlement Facility;



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                       (vi)    subject to Section 4.1, establish such accounts and reserves within
        the Trust Funds as the Trustee, in its reasonable judgment, deems necessary, advisable, or
        appropriate in connection with the administration of the Settlement Facility;

                        (vii) sue, defend, and participate, as a party or otherwise, in any judicial,
        administrative, arbitrative, or other proceeding or legal action related in any way to the
        Settlement Facility or this Settlement Facility Agreement and, subject to the terms of
        Section 3.3, defend, and pay, from the Trust Funds, subject to Section 4.1, all expenses,
        costs, and fees (including reasonable attorneys’ fees and costs) for the defense of any and
        all claims, proceedings, and legal actions against the Trustee or the Settlement Facility
        related to the administration of the Settlement Facility and the actions of the Trustee;

                      (viii) retain, or cause the Settlement Facility to retain, counsel,
        accountants, and other Representatives of the Settlement Facility as the Trustee, in its
        reasonable judgment, deems necessary, advisable, or appropriate in connection with the
        administration of the Settlement Facility and pay, from the Trust Funds, subject to
        Section 4.1, such counsel, accountants, and other Representatives reasonable
        compensation, including compensation for services rendered before the execution of this
        Settlement Facility Agreement;

                      (ix)    receive, from the Trust Funds, compensation and reimbursement of
        Settlement Facility Expenses, and indemnification and advancement of expenses, in
        accordance with the terms of this Settlement Facility Agreement;

                        (x)    execute and deliver, or cause the Settlement Facility to execute and
        deliver, such agreements, instruments, and other documents as the Trustee, in its reasonable
        judgment, deems necessary, advisable, or appropriate in connection with the administration
        of the Settlement Facility;

                       (xi)    enter into, or cause the Settlement Facility to enter into, such
        arrangements with third parties as the Trustee, in its reasonable judgment, deems necessary,
        advisable, or appropriate in connection with the administration the Settlement Facility;

                       (xii) cause the Settlement Facility to indemnify and advance expenses to
        Indemnified Persons in accordance with Section 3.3 using the Trust Funds, subject to
        Section 4.1, and, if applicable, insurance;

                       (xiii) purchase, using Trust Funds, subject to Section 4.1, insurance for
        the Settlement Facility and Indemnified Persons;

                        (xiv) consult with TTC, TUI, Aldrich, and Murray in accordance with
        Section 3.2(f) and otherwise at such times and with respect to such issues as the Trustee,
        in its reasonable judgment, deems necessary, desirable, or appropriate in connection with
        the administration of the Settlement Facility;

                     (xv) establish claims handling agreements and other arrangements as
        may be appropriate with respect to the Release Conditions;


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                        (xvi) cause the Settlement Facility to obtain a federal employer
        identification number and relevant state tax identification numbers, communicate with the
        IRS and state and local taxing authorities on behalf of the Settlement Facility, cause the
        Settlement Facility to pay, from the Trust Funds, subject to Section 4.1, required taxes, and
        cause the Settlement Facility to file all required tax returns;

                        (xvii) if applicable, establish procedures for Medicare reporting and to
        protect the Settlement Facility from Medicare reimbursement claims; and

                       (xviii) do all other acts and things consistent with the provisions of this
        Settlement Facility Agreement, a Chapter 11 524(g) Plan, and applicable law as the
        Trustee, in its reasonable judgment, deems necessary, desirable, or appropriate in
        connection with the administration of the Settlement Facility.

No provision in this Settlement Facility Agreement shall be construed to require the Trustee to
expend or risk its own funds or otherwise incur personal financial liability in the performance of
its duties and obligations or in the exercise of its rights and powers.

               (e)    Certain Prohibitions. The Trustee shall not have the power to borrow
money or guarantee any debt of any other Person or exercise any common law or statutory right
(e.g., decanting, merger, or otherwise) to effectuate a modification or amendment of this
Settlement Facility Agreement except as specifically permitted by Section 6.3.

        3.2      General Administration and Obligations of the Trustee.

                 (a)   Tax Returns and Reports.

                        (i)     The Trustee shall cause the Settlement Facility to obtain a federal
        employer identification number and relevant state tax identification numbers, and to file
        all tax returns and pay, from the Trust Funds, subject to Section 4.1, all taxes as required
        under the Code and Treasury Regulations and any state, local, or other law. The Trustee
        shall cause the Settlement Facility to comply with the provisions of Treas. Reg. § 1.468B-2
        and all reporting and withholding obligations applicable to the Settlement Facility under
        the Code, Treasury Regulations, and any state, local, or other law. The Trustee shall
        provide a draft of any required tax returns of the Settlement Facility to TTC, TUI, Aldrich,
        and Murray at least thirty (30) days before such returns are to be filed, and shall consider
        any reasonable comments or suggestions made by TTC, TUI, Aldrich or Murray before
        filing such tax return.

                        (ii)   The Trustee shall cause the Settlement Facility, within seventy-five
        (75) days after the end of each calendar year (or earlier if required by law), to prepare and
        deliver, including by electronic means, such information as required by law to enable
        payees to complete and file each of their respective federal, state, and local income and
        other tax returns.

                       (iii) The Trustee and all parties to this Settlement Facility Agreement
        agree to reasonably cooperate in conducting any matters involving taxes, including the
        preparation of any necessary tax returns or reports, the prompt furnishing of information
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        necessary to timely prepare tax returns or reports, the administration of any tax audit or
        review, and the conduct of any tax contest. A party required to provide any tax document
        or information shall do so as soon as possible within fifteen (15) business days of such
        request, unless there are extenuating circumstances reasonably preventing delivery of such
        information within fifteen (15) business days.

               (b)    Financial and Claim Reports. The Trustee shall cause to be prepared and
Filed with the Bankruptcy Court the following reports:

                        (i)     Financial Reports. As soon as available, but no later than one
        hundred twenty (120) days following the end of each calendar year, the Trustee shall cause
        to be prepared an annual report containing financial statements of the Settlement Facility
        (including a balance sheet of the Settlement Facility as of the end of such calendar year, a
        statement of operations for such calendar year, and the information required by
        Section 2.5(c)) audited by a firm of independent registered public accountants selected by
        the Trustee and accompanied by an opinion of such firm that such financial statements
        present fairly in all material respects the financial position of the Settlement Facility as of
        such year end and the results of its operations as of the year then ended in conformity with
        accounting principles generally accepted in the United States.

                       (ii)   Claim Reports. As soon as available, but, in any event, no less
        frequently than quarterly, the Trustee shall cause to be prepared a report that provides a
        summary of the number and amount of payments in respect of Asbestos Claims requested
        from and paid by the Settlement Facility during such quarter, if any, with all such
        information classified by disease type and designated as being in respect of Aldrich
        Asbestos Claims or Murray Asbestos Claims, as applicable.

               (c)     Filing of Financial and Claim Reports. Pursuant to section 107(a) of the
Bankruptcy Code, and so long as the Chapter 11 Cases are pending, all materials required by
Section 3.2(b) shall be served on TTC, TUI, Aldrich, and Murray and Filed in the Chapter 11
Cases on the docket of the Bankruptcy Court and, except for redactions reasonably necessary to
comply with applicable privacy laws, shall be public records and open to examination by any
Person at reasonable times without charge. Subsequent to the closing of the Chapter 11 Cases, all
materials required by Section 3.2(b) shall be Filed with Bankruptcy Court in such manner as the
Bankruptcy Court shall order.

                (d)    Trust Fund Summary. Each calendar quarter, the Trustee shall cause to be
prepared and delivered to TTC, TUI, Aldrich, and Murray a summary of the Trust Funds and their
then current value, with such summary separately showing Aldrich Trust Funds and Murray Trust
Funds. For so long as the Chapter 11 Cases are pending, Aldrich and Murray shall, upon their
receipt of any such summary, deliver a copy thereof to counsel for any official committee of
asbestos claimants and any future claimants’ representative appointed in the Chapter 11 Cases on
a confidential basis under the protective order entered in the Chapter 11 Cases.

               (e)    Budget and Cash Flow Projections. Before the commencement of each
calendar year, the Trustee shall cause to be prepared and delivered to TTC, TUI, Aldrich, and
Murray a budget and cash flow projections for the Settlement Facility covering such calendar year.

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For so long as the Chapter 11 Cases are pending, Aldrich and Murray shall, upon their receipt of
any such budget or cash flow projections, deliver a copy thereof to counsel for any official
committee of asbestos claimants and any future claimants’ representative appointed in the
Chapter 11 Cases on a confidential basis under the protective order entered in the Chapter 11
Cases.

               (f)     Consultation with TTC, TUI, Aldrich, and Murray. The Trustee shall
consult with TTC, TUI, Aldrich, and Murray on the administration of the Settlement Facility. The
Trustee shall meet with TTC, TUI, Aldrich, and Murray not fewer than four (4) times each calendar
year, on such dates and at such times as mutually agreed to by the Trustee, TTC, TUI, Aldrich,
and Murray, to discuss general matters regarding the administration of the Settlement Facility and
to review payments in respect of Asbestos Claims requested from and paid by the Settlement
Facility and the value of the Trust Funds.

        3.3      Indemnification of the Trustee.

                 (a)    Indemnification. The Settlement Facility shall defend, indemnify, and hold
harmless, using the Trust Funds, subject to Section 4.1, and, if applicable, insurance, the Trustee,
any former Trustee, the Portfolio Manager, the Adviser, and any Representative of the Trustee, the
Settlement Facility, the Portfolio Manager, or the Adviser (collectively, the “Indemnified
Persons”) to the fullest extent available under law against any and all liabilities, expenses, claims,
damages, or losses (including reasonable attorneys’ fees and costs) incurred by such Indemnified
Person in connection with any judicial, administrative, arbitrative, or other proceeding or legal
action on account of any act or failure to act in such Indemnified Person’s capacity as trustee of
the Settlement Facility or the Representative of such trustee, as applicable; provided, however, that
the Settlement Facility shall not be obligated to so indemnify any such Indemnified Person for any
liabilities, expenses, claims, damages, or losses (including reasonable attorneys’ fees and costs)
due to any act or failure to act by such Person constituting gross negligence or willful misconduct,
determined by Final Order.

                (b)    Costs and Expenses. Reasonable expenses, costs, and fees (including
reasonable attorneys’ fees and costs) incurred by or imposed on any Indemnified Person in
connection with any proceeding or legal action contemplated by this Section 3.3 shall be paid by
the Settlement Facility, using the Trust Funds, subject to Section 4.1, and, if applicable, insurance,
in advance of the final disposition thereof; provided, however, that such reasonable expenses,
costs, and fees (including reasonable attorneys’ fees and costs) shall not be advanced until such
Indemnified Person shall have delivered a written undertaking to the Settlement Facility to repay
such reasonable expenses, costs, and fees (including reasonable attorneys’ fees and costs) so
advanced in the event that it shall be determined by Final Order that such Indemnified Person is
not entitled to be indemnified by the Settlement Facility with respect thereto.

              (c)    Insurance. The Trustee, using the Trust Funds, subject to Section 4.1, shall
purchase and maintain reasonable amounts and types of insurance for the Settlement Facility and
any Indemnified Person.

               (d)     Payment. Any claim for indemnification or advancement of expenses from
the Settlement Facility pursuant to Section 3.3 shall be satisfied from the Trust Funds, subject to

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Section 4.1, and, if applicable, insurance. Nothing in this Settlement Facility Agreement is
intended to be, nor shall it be construed as, an admission as to the validity or enforceability of any
particular claim for indemnification or advancement of expenses. The indemnification provided
by this Section 3.3 shall survive termination of this Settlement Facility Agreement and resignation
or removal of the Trustee, Portfolio Manager, or Adviser.

                                            ARTICLE 4

                      ACCOUNTS, INVESTMENTS, AND PAYMENTS

        4.1     Accounts. The Trustee may, from time to time, establish and maintain such
accounts and reserves within the Trust Funds as the Trustee, in its reasonable judgment, deems
necessary, desirable, or appropriate in connection with the administration of this Settlement
Facility, and may restrict the use of Trust Funds in any such account or reserve in any manner
consistent with the provisions of this Settlement Facility Agreement. Without limiting the
generality of the foregoing, the Trustee shall at all times segregate the Aldrich Trust Funds and the
Murray Trust Funds and, notwithstanding anything contained in this Settlement Facility
Agreement to the contrary, shall restrict the use of the Aldrich Trust Funds and Murray Trust Funds
as follows:

                 (a)     Aldrich Trust Funds. The Aldrich Trust Funds shall be used solely to
(i) resolve or satisfy Aldrich Asbestos Claims in accordance with Section 1.5 or (ii) pay the Aldrich
Share of any and all Settlement Facility Expenses and other liabilities of the Settlement Facility.

                 (b)    Murray Trust Funds. The Murray Trust Funds shall be used solely to
(i) resolve or satisfy Murray Asbestos Claims in accordance with Section 1.5 or (ii) pay the Murray
Share of any and all Settlement Facility Expenses and other liabilities of the Settlement Facility.

        4.2      Investments.

                (a)    Investment Decisions. Pursuant to North Carolina Uniform Trust Code
Section 36C-8-807(a), the Trustee shall retain the Portfolio Manager, for reasonable compensation
and expense reimbursement to be negotiated with the Trustee, to manage the Trust Funds and make
all investment decisions with respect to the Trust Funds unless and until the Trust Funds (i) are
released, as and to the extent provided in Section 1.5, or (ii) revert to TTC or TUI, as and only to
the extent provided in Section 6.2(b) and Section 6.2(c). The Portfolio Manager shall be governed
by, and act in accordance with, the Prudent Investor Rule.

                (b)   Investment Guidelines. The Trust Funds shall be invested in accordance
with the investment guidelines set forth on Exhibit A (the “Investment Guidelines”). The Parties
agree that the Investment Guidelines requirements comply with the Prudent Investor Rule.

                (c)    Delegation. Notwithstanding anything contained in this Settlement Facility
Agreement to the contrary, as of the Effective Date, the authority of the Trustee to invest and
reinvest the Trust Funds shall be delegated to the Portfolio Manager pursuant to this Section 4.2
and such delegation of authority to the Portfolio Manager shall not be modified or amended except
in accordance with Section 6.3. The Portfolio Manager shall be entitled to retain the Adviser to
assist the Portfolio Manager in discharging its delegated authority hereunder. The Trustee shall
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have no liability for any action taken or failure to act by the Portfolio Manager or the Adviser with
respect to the investment and reinvestment of the Trust Funds (it being understood that the
delegation of authority to the Portfolio Manager or the Adviser does not otherwise alter the
Trustee’s obligations with respect to holding, administering, and distributing the Trust Funds).

         4.3    Payments. All Settlement Facility Expenses, and any and all other liabilities of the
Settlement Facility, shall be payable from the Trust Funds, subject to Section 4.1, and, if
applicable, insurance. Prior, and as a condition, to releasing Trust Funds under Section 1.5,
Section 6.2(b), or Section 6.2(c), the Trustee shall receive written instructions for such release:
(a) in the case of Aldrich Trust Funds, from Aldrich for any release pursuant to Section 1.5(a) or
from TTC for any other release; or (b) in the case of Murray Trust Funds, from Murray for any
release pursuant to Section 1.5(a) or from TUI for any other release. The Trustee may not release
Trust Funds without receiving such written instructions. Any such instructions shall specify (i) the
amount to be released, (ii) the basis for such release, and (iii) the name of, and wire transfer
instructions for, each payee. The Trustee shall have no obligation to verify the information
contained in such written instruction and shall have no liability for releasing Trust Funds in
reliance on such written instruction. The foregoing shall not, in any way, alter, modify, or limit
the terms or conditions pursuant to which Trust Funds shall be released under Section 1.5,
Section 6.2(b), or Section 6.2(c).

                                           ARTICLE 5

                                OBLIGATIONS OF TTC AND TUI

       5.1     Settlement Contributions. In accordance with Section 1.3, on the Effective Date:
(a) TTC shall be required to pay the TTC Settlement Contribution to the Settlement Facility and
(b) TUI shall be required to pay the TUI Settlement Contribution to the Settlement Facility.

        5.2     Condition Precedent. Notwithstanding anything contained in this Settlement
Facility Agreement to the contrary, TTC shall have no obligation to fund the TTC Settlement
Contribution and TUI shall have no obligation to fund TUI Settlement Contribution unless and
until the Effectiveness Condition shall have been satisfied; provided, however, that TTC and TUI
jointly, in their sole discretion, may waive (in whole or in part) the requirement that the
Effectiveness Condition be satisfied.

                                           ARTICLE 6

                                   GENERAL PROVISIONS

       6.1     Irrevocability. The trust created by this Settlement Facility Agreement is
irrevocable and may only be amended or modified pursuant to Section 6.3.

        6.2      Termination.

              (a)    Automatic Termination. The Settlement Facility shall automatically
terminate on the date ninety (90) days after the first to occur of the following events (the
“Termination Date”):

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                      (i)     a determination by the Bankruptcy Court that all Asbestos Claims
        have been paid or otherwise satisfied; or

                      (ii)    the issuance by the Bankruptcy Court of an order dissolving or
        otherwise terminating the Settlement Facility.

                 (b)     Reversion on Termination. As promptly as reasonably practicable after the
Termination Date, after (i) payment of all Settlement Facility Expenses and any and all other
liabilities of the Settlement Facility, and after allowing for reserves for final trust administration
expenses, including indemnity, in each case subject to Section 4.1, and (ii) liquidation of all
investments then held by the Settlement Facility, all remaining Aldrich Trust Funds in the
Settlement Facility estate shall revert to TTC and all Murray Trust Funds in the Settlement Facility
estate shall revert to TUI. Notwithstanding any other provision of this Settlement Facility
Agreement, this Section 6.2(b) cannot be modified or amended.

                (c)     Partial Reversion Prior to Termination. If, at any time prior to the
Termination Date, a determination is made by the Bankruptcy Court that all Aldrich Asbestos
Claims have been paid or otherwise satisfied, after payment of all Settlement Facility Expenses
and any and all other liabilities of the Settlement Facility incurred through the date of such
determination, and after allowing for reserves for final trust administration expenses, including
indemnity, accrued through the date of such determination, in each case subject to Section 4.1,
then, after liquidation of all investments of Aldrich Trust Funds held by the Settlement Facility,
all remaining Aldrich Trust Funds in the Settlement Facility shall revert to TTC. Similarly, if, at
any time prior to the Termination Date, a determination is made by the Bankruptcy Court that all
Murray Asbestos Claims have been paid or otherwise satisfied, after payment of all Settlement
Facility Expenses and any and all other liabilities of the Settlement Facility incurred through the
date of such determination, and after allowing for reserves for final trust administration expenses,
including indemnity, accrued through the date of such determination, in each case subject to
Section 4.1, then, after liquidation of all investments of Murray Trust Funds held by the Settlement
Facility, all remaining Murray Trust Funds in the Settlement Facility shall revert to TUI.
Notwithstanding any other provision of this Settlement Facility Agreement, this Section 6.2(c)
cannot be modified or amended.

        6.3    Amendments. The Bankruptcy Court, upon a motion of the Trustee, with the
express written consent of TTC, TUI, Aldrich, and Murray, may modify or amend this Settlement
Facility Agreement, other than Section 6.2(b) and Section 6.2(c), if such modification or
amendment is necessary to achieve the purposes of the Settlement Facility. Except as modified or
amended by an order of the Bankruptcy Court, no modification or amendment of this Settlement
Facility Agreement may be made. No modification or amendment of this Settlement Facility
Agreement shall limit any obligations of TTC under the TTC/Aldrich Funding Agreement or of
TUI under the TUI/Murray Funding Agreement, except to the extent such limitation is consistent
with the limitation on such obligations set forth in Section 1.3(b)(v) or Section 1.3(c)(v), as
applicable.

      6.4     Severability. Should any provision in this Settlement Facility Agreement, other
than Section 1.5, Section 4.3, Section 6.2(b), and Section 6.2(c), be determined to be


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unenforceable, such determination shall in no way limit or affect the enforceability and operative
effect of any other provision of this Settlement Facility Agreement.

        6.5      Notices. Any notices or other report required or permitted by this Settlement
Facility Agreement must be in (a) writing and is deemed given (i) when delivered personally to
the recipient, (ii) five (5) days after deposit in the U.S. mail, mailed by registered or certified mail,
return receipt requested, postage prepaid, (iii) if sent by email, when the communication is
received at the designated addresses, or (iv) one (1) Business Day after being sent to the recipient
by reputable overnight courier service (charges prepaid); and (b) addressed to the other Persons at
the addresses set forth below, or at such other address as such Person now designates from time to
time in writing in accordance with this Section 6.5.

        To the Settlement Facility through the Trustee:

                 U.S. Bank National Association
                 60 Livingston Ave
                 Saint Paul, MN 55107-2292
                 Attention: Timothy G. Pillar, Senior Vice President
                 Email: timothy.pillar@usbank.com

        With a copy to:

                 Greenberg Traurig, LLP
                 90 South Seventh Street, Suite 3500
                 Minneapolis, MN 55402
                 Attention: Michael B. Fisco
                 Email: fiscom@gtlaw.com

        To TTC:

                 Trane Technologies Company LLC
                 800-E Beaty Street
                 Davidson, North Carolina 28036
                 Attention: Richard E. Daudelin, Treasurer
                 Email: richard_daudelin@tranetechnologies.com

        With a copy to:

                 McCarter & English LLP
                 Worldwide Plaza
                 825 Eighth Ave., 31st Floor
                 New York, New York 10019
                 Attention: Gregory J. Mascitti
                 Email: gmascitti@mccarter.com

        To TUI:

                 Trane U.S. Inc.
                 800-E Beaty Street

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                 Davidson, North Carolina 28036
                 Attention: Richard E. Daudelin, Treasurer
                 Email: richard_daudelin@tranetechnologies.com

        With a copy to:

                 McCarter & English LLP
                 Worldwide Plaza
                 825 Eighth Ave., 31st Floor
                 New York, New York 10019
                 Attention: Gregory J. Mascitti
                 Email: gmascitti@mccarter.com

        To Aldrich:

                 Aldrich Pump LLC
                 800-E Beaty Street
                 Davidson, North Carolina 28036
                 Attention: Amy Roeder, Chief Financial Officer and Treasurer
                 Email: amy_roeder@tranetechnologies.com

        With a copy to:

                 Jones Day
                 77 West Wacker
                 Chicago, Illinois 60601
                 Attention: Brad B. Erens
                 Email: bberens@jonesday.com

        To Murray:

                 Murray Boiler LLC
                 800-E Beaty Street
                 Davidson, North Carolina 28036
                 Attention: Amy Roeder, Chief Financial Officer and Treasurer
                 Email: amy_roeder@tranetechnologies.com

        With a copy to:

                 Jones Day
                 77 West Wacker
                 Chicago, Illinois 60601
                 Attention: Brad B. Erens
                 Email: bberens@jonesday.com

        6.6     Successors and Assigns. The provisions of this Settlement Facility Agreement
shall be binding upon and inure to the benefit of the Trustee, TTC, TUI, Aldrich, and Murray and
their respective successors and assigns, except that the Trustee may not assign or otherwise transfer

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any of the Trustee’s rights or obligations under this Settlement Facility Agreement other than in
accordance with Article 2.

        6.7    Entire Agreement; No Waiver. The entire agreement of the Parties relating to the
subject matter of this Settlement Facility Agreement is contained in this Settlement Facility
Agreement, including the Exhibits attached to this Settlement Facility Agreement, and this
Settlement Facility Agreement and such Exhibits supersede any prior oral or written agreements
concerning the subject matter hereof. No failure to exercise or delay in exercising any right, power,
or privilege under this Settlement Facility Agreement shall operate as a waiver thereof, nor shall
any single or partial exercise of any right, power, or privilege under this Settlement Facility
Agreement preclude any further exercise thereof or of any other right, power, or privilege. The
rights and remedies in this Settlement Facility Agreement are cumulative and are not exclusive of
rights under law or in equity.

        6.8   Headings. The headings used in this Settlement Facility Agreement are inserted
for convenience only, shall not constitute a portion of this Settlement Facility Agreement, and shall
not in any manner affect the construction of the provisions of this Settlement Facility Agreement.

       6.9     Governing Law. This Settlement Facility Agreement shall be governed by, and
construed in accordance with, the laws of the State of North Carolina without regard to its conflict
of laws principles.

        6.10 Dispute Resolution. Any disputes that arise under this Settlement Facility
Agreement shall be resolved by the Bankruptcy Court, except as otherwise expressly provided in
this Settlement Facility Agreement.

        6.11 Counterpart Signatures. This Settlement Facility Agreement may be executed in
any number of counterparts, each of which shall constitute an original, and all such counterparts
shall together constitute one and the same instrument.

                                           ARTICLE 7

                                         DEFINITIONS

        “Adviser” means an investment manager retained and appointed by the Portfolio Manager
to assist the Portfolio Manager with its exercise of its delegated authority hereunder to invest and
reinvest Trust Funds pursuant to Section 4.2 of this Settlement Facility Agreement. The initial
Adviser shall be U.S. Bancorp Asset Management, Inc.

        “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

        “Aldrich” has the meaning set forth in the recitals.

        “Aldrich Asbestos Claims” has the meaning set forth in the recitals.

       “Aldrich Share” means an amount, expressed as a percentage, equal to (a) the TTC
Settlement Contribution, divided by (b) the sum of the TTC Settlement Contribution and the TUI
Settlement Contribution.

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       “Aldrich Trust Funds” means the TTC Settlement Contribution together with (a) any
future contributions to the Settlement Facility designated for use to resolve or satisfy Aldrich
Asbestos Claims in accordance with Section 1.5 and (b) any earnings on the TTC Settlement
Contribution or such future contributions.

        “Asbestos Claim” means current and future asbestos-related claims asserted against or
related to Aldrich or Murray, as applicable, including any claim of death or injury in any way
related to asbestos or asbestos-containing materials used, stored, installed, or handled in
connection with the operations of such entity or any of its predecessors or otherwise present at any
premises owned or operated at any time by such entity or any of its predecessors, whether such
claim is brought by the injured party, his, her or its estate or personal representative, or his or her
family members based on any theory of liability, including loss of consortium, wrongful death,
premises liability, or similar theories.

        “Bankruptcy Code” means title 11 of the United States Code, sections 101–1532, as now
in effect or as hereafter amended.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Western District
of North Carolina, or, if such court ceases to exercise jurisdiction, the court or adjunct of that court
that exercises jurisdiction over the Chapter 11 Cases.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as amended and
promulgated under section 2075 of Title 28 of the United States Code, together with (a) the Rules
of Practice and Procedures of the United States Bankruptcy Court for the Western District of North
Carolina as now in effect or as the same may from time to time hereafter be amended and (b) the
Amended Standing Order of Reference from the United States District Court for the Western
District of North Carolina dated as of April 14, 2014.

       “Business Day” means any day that is not a Saturday, Sunday, or “legal holiday” within
the meaning of Bankruptcy Rule 9006(a).

        “Cash” means lawful currency of the United States.

        “Chapter 11 524(g) Plan” means a Section 524(g) Plan (as defined in the TTC/Aldrich
Funding Agreement or the TUI/Murray Funding Agreement, as applicable, and including all
exhibits and supplements of such plan of reorganization).

       “Chapter 11 Cases” means the jointly administered cases pending for Aldrich and Murray
under chapter 11 of the Bankruptcy Code in the Bankruptcy Court under case numbers 20-30608
(JCW) and 20-30609 (JCW); provided, however, that, where the context requires, “Chapter 11
Cases” shall be deemed to refer to the individual chapter 11 case of Aldrich or Murray, as
appropriate.

        “Code” means the Internal Revenue Code of 1986, as amended.

       “District Court” means the United States District Court for the Western District of North
Carolina.


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         “Effectiveness Condition” means (a) an order has been entered by the Bankruptcy Court
approving this Settlement Facility Agreement, establishing the Settlement Facility, and
acknowledging and determining that the Bankruptcy Court shall be the supervisory court with
respect to the Settlement Facility and shall retain jurisdiction over the Settlement Facility for the
life of the Settlement Facility and (b) such order has become a Final Order.

        “Effective Date” means the date determined by TUI and TTC following the date on which
the Effectiveness Condition shall have been (a) satisfied or (b) waived by TTC and TUI; provided,
however, that the date so determined shall be on or before: (i) if the date on which the Effectiveness
Condition is so satisfied or waived occurs on or before January 14, 2022, January 31, 2022 or (ii) if
the date on which the Effectiveness Condition is so satisfied or waived occurs after January 14,
2022, the date that is 10 Business Days after the date on which the Effectiveness Condition is so
satisfied or waived.

        “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

        “Final Order” means a judgment, order, ruling, or other decree issued and entered by the
Bankruptcy Court, the District Court, or any state, provincial, or other federal court or other
tribunal having jurisdiction over the subject matter of such judgment, order, ruling, or other decree,
which judgment, order, ruling, or other decree has not been reversed, stayed, modified, or amended
and as to which: (a) the time to appeal or petition for review, rehearing, or certiorari or move for
reargument has expired or shall have been waived in writing in form and substance satisfactory to
TTC and TUI or the Trustee, as applicable, and as to which no appeal or petition for review,
rehearing, or certiorari or motion for reargument is pending; or (b) any appeal or petition for
review, rehearing, certiorari, or reargument has been finally decided and no further appeal or
petition for review, rehearing, certiorari, or reargument can be taken or granted; provided,
however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules of Civil
Procedure, or any analogous rule under the Bankruptcy Rules or applicable state court rules of
civil procedure, may be Filed with respect to such order shall not cause such order not to be a Final
Order.

        “Funding Agreements” has the meaning set forth in the recitals.

        “Indemnified Persons” has the meaning set forth in Section 3.3(a).

        “Investment Guidelines” has the meaning set forth in Section 4.2(b).

        “Murray” has the meaning set forth in the recitals.

        “Murray Asbestos Claims” has the meaning set forth in the recitals.

       “Murray Share” means an amount, expressed as a percentage, equal to (a) the TUI
Settlement Contribution, divided by (b) the sum of the TTC Settlement Contribution and the TUI
Settlement Contribution.


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       “Murray Trust Funds” means the TUI Settlement Contribution together with (a) any
future contributions to the Settlement Facility designated for use to resolve or satisfy Murray
Asbestos Claims in accordance with Section 1.5 and (b) any earnings on the TUI Settlement
Contribution or such future contributions.

      “Parties” or “Party” means, collectively or individually, as applicable, TTC, TUI, Aldrich,
Murray, and the Trustee.

        “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit or other Entity, and any successors or assigns of
any of the foregoing.

        “Portfolio Manager” means TTC or its designee, which may be an Affiliate of TTC.

      “Prudent Investor Rule” means the “prudent investor rule” set forth in North Carolina
Uniform Trust Code Section 36C-9-901 et seq., as amended.

       “Qualified Settlement Fund” or “QSF” means a qualified settlement fund that satisfies the
requirements of Treas. Reg. § 1.468B-1(c).

        “Release Conditions” has the meaning set forth in Section 1.5.

        “Representatives” means, when used with respect to the Trustee, the Settlement Facility,
or the Portfolio Manager, (a) any Person retained by it in connection with this Settlement Facility
Agreement, and its successors and assigns, but only in their capacities as such; and (b) the past,
present, and future managers, directors, members, shareholders, affiliates, trustees, officers,
employees, accountants (including independent registered public accountants), advisors, attorneys,
consultants, and other agents, representatives, and professionals of it or any Person identified in
clause (a), and their respective successors and assigns, in each case solely in their capacities as
such.

       “Section 524(g) Trust” means a trust established under a Chapter 11 524(g) Plan, which
trust must be a new trust the transfer of Trust Funds to which would be treated as a transfer to
resolve or satisfy Asbestos Claims within the meaning of Treas. Reg. § 1.468B-1(c).

       “Settlement Facility” means the North Carolina trust created as a QSF pursuant to this
Settlement Facility Agreement.

        “Settlement Facility Accounts” means such accounts established by the Trustee pursuant
to Section 4.1 or the Portfolio Manager pursuant to Section 4.2.

        “Settlement Facility Agreement” has the meaning set forth in the introductory paragraph.

       “Settlement Facility Expenses” means the reasonable out-of-pocket administrative and
other expenses, costs, and fees (including reasonable attorneys’ fees and costs) incurred by the
Trustee or the Settlement Facility in connection with the administration of the Settlement Facility,
which shall include, without limitation, the Trustee Fees and compensation payable to and

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permitted expenses incurred by the Portfolio Manager and the Adviser. For the avoidance of
doubt, Settlement Facility Expenses shall not include any expenses, costs, or fees associated with
administering the Chapter 11 Cases.

        “Termination Date” has the meaning set forth in Section 6.2(a).

        “Treasury Regulations” means, and all “Treas. Reg. §” references are to, the Treasury
regulations promulgated under the Code.

       “Trustee” means the Person named on the signature page of this Settlement Facility
Agreement, and any Person appointed as successor trustee pursuant to the provisions of this
Settlement Facility Agreement.

        “Trustee Fees” has the meaning set forth in Section 2.5(a).

        “Trust Funds” means collectively the Aldrich Trust Funds and the Murray Trust Funds.

        “TTC” has the meaning set forth in the recitals.

        “TTC/Aldrich Funding Agreement” has the meaning set forth in the recitals.

        “TTC Settlement Contribution” has the meaning set forth in the recitals.

        “TUI” has the meaning set forth in the recitals.

        “TUI/Murray Funding Agreement” has the meaning set forth in the recitals.

        “TUI Settlement Contribution” has the meaning set forth in the recitals.



                                     [Signature page follows.]




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        IN WITNESS WHEREOF, the parties have executed this Settlement Facility Agreement
as of the date first written above.

                                        TRANE TECHNOLOGIES LLC, a Delaware
                                        limited liability company

                                        By:
                                        Name:
                                        Title:


                                        TRANE U.S. INC., a Delaware corporation

                                        By:
                                        Name:
                                        Title:


                                        ALDRICH PUMP LLC, a North Carolina limited
                                        liability company

                                        By:
                                        Name:
                                        Title:


                                        MURRAY BOILER LLC, a North Carolina limited
                                        liability company

                                        By:
                                        Name:
                                        Title:


                                        U.S. BANK NATIONAL ASSOCIATION, as
                                        Trustee

                                        By:
                                        Name:
                                        Title:

                                   *       *       *




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                   EXHIBIT A TO SETTLEMENT FACILITY AGREEMENT

                                 INVESTMENT GUIDELINES

                                     Permitted Investments

a.      Direct obligations of the United States Government or of agencies of the U.S.
        Government backed by the full faith and credit of the U.S. Government.

        Diversification requirements:         None

        b. Money Market Funds:
             i.     Money Market Funds or Institutional Liquidity Funds that carry a rating of
                    AAA/Aaa by either Standard and Poor's or Moody's, or carry a comparable
                    rating issued by a leading local credit rating agency.
             ii.    U.S. Money Market Funds must meet the guidelines established under United
                    States Securities and Exchange Commission (SEC) Rule 2a-7 of the
                    Investment Company Act of 1940.

        Diversification requirements: Lesser of $100 million or 2 ½ % of assets under
        management in a single fund. US Treasury funds shall be limited to 5% of assets under
        management.

                           Asset Types/Vehicles Explicitly Prohibited

       Non-USD Denominated
       Foreign Currency
       Repo and Reverse Repurchase Agreements (except as may be included in Permitted
        Investments)
       Derivatives
       The debt of any Person who is related to TTC or TUI within the meaning of section
        267(b) or section 707(b)(1) of the Internal Revenue Code of 1986, as amended.
       Any asset the acquisition or holding of which would cause the Aldrich/Murray Settlement
        Facility to fail to qualify as a QSF.




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                 EXHIBIT B TO SETTLEMENT FACILITY AGREEMENT

                              TRUSTEE FEE AGREEMENT

                                     See attached.




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